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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
In re                                                          :
                                                               :
CENTER CITY HEALTHCARE, LLC                                    :        Case No. 1:19-11466-KG
d/b/a HAHNEMANN UNIVERSITY                                     :
HOSPITAL, et al.1                                              :        Chapter 11
                                                               :
         Debtor,                                               :
                                                               :

                MOTION FOR PAYMENT OF ADMINISTRATIVE EXPENSES

         Creditors in the above-captioned case, the Trustees of the Benefit Fund for Hospital and

Health Care Employees Philadelphia and Vicinity (“Health Benefit Fund”) and the Trustees of the

Pension Fund for Hospital and Health Care Employees Philadelphia and Vicinity (“Pension

Fund”), by and through undersigned counsel, pursuant to Sections 105 and 503 of the Bankruptcy

Code, Bankruptcy Rules 9013 and 9014, Local Rules for the United States Bankruptcy Court for

the District of Delaware 9006-1 and 9013-1, and the Court’s Order Authorizing The Debtors To

Use Cash Collateral (Docket No. 172) hereby move the Court for an Order directing the Debtor to

pay to the 1199C Benefit Funds the fringe benefit contributions and other amounts owed and

accrued since the filing of the Petition as administrative expenses.

                                                 I.       FACTS

         In support of this Motion, the following facts are not disputed:




1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC
Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC Pediatric
Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862),
TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
(5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.
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       1.      Center City Healthcare, LLC. d/b/a Hahnemann University Hospital filed a

voluntary petition in this Court pursuant to Chapter 11 of Title 11 of the Bankruptcy Code on June

30, 2019.

       2.      At all times since the filing of the petition, the Debtor has remained in control of its

assets and the management of its affairs as Debtor-in-Possession.

       3.      At all relevant times the Debtor has remained bound to collective bargaining

agreements with District 1199C. The relevant sections from Debtor’s Collective Bargaining

Agreements are included in the Appendix. (Appendix 001 - 028).

       4.      The Health Benefit Fund and Pension Fund (collectively referred to as “1199C

Benefit Funds”) are financed by payments, called “contributions,” made by employers under the

terms of collective bargaining agreements. Under the Collective Bargaining Agreements between

the Debtor and District 1199C and the 1199C Benefit Funds Delinquency Policies, the percentage

of gross payroll paid to employees working under the Collective Bargaining Agreement is supplied

to the 1199C Benefit Funds by employers on a self-reporting basis in monthly reports called

“Contribution Reports.” The 1199C Benefit Funds rely on employers to provide this information

to calculate the amounts owed to the Pension and Health Benefit Funds. See, e.g, Sheet Metal

Workers, Local 19 v. 2300 Grp., Inc., 949 F.2d 1274, 1282 (3d Cir. 1991) (benefit fund plaintiffs

are entitled to place “trust and confidence in [employers] to submit accurate reports” containing

employee information that contributing employers must report).

       5.      Pursuant to the terms of its collective bargaining agreements, the Debtor must

prepare and submit Contribution Reports identifying the contributions owed to the 1199C Benefit

Funds for each work month performed by its employees. The Debtor failed to submit its
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Contribution Report due on July 1, 2019, and failed to submit its Contribution Report and Payment

due on August 1, 2019.

       6.      Contributions must be reported and paid by the last day of the month following the

month the employees worked. Failure to pay contributions timely subjects the Debtor to additional

amounts to be paid, such as interest, liquidated damages and attorney's fees. (Appendix 029 – 038

(Pension Fund Delinquency Policy, ¶s 3, 6; Health Benefit Fund Delinquency Policy, ¶s 3, 6).)

       7.      These amounts and the delinquent contributions are also payable as a matter of law

pursuant to Sections 502(g) and 515 of the Employee Retirement Income Security Act of 1974

(“ERISA”), 29 U.S.C. § 1132(g) and 1145.

       8.      The Debtor has failed to pay all amounts due to the Benefits Funds since the filing

of the petition as administrative expenses as required by Section 503 of the Bankruptcy Code.

       9.      Pursuant to the terms of the Health Benefit Fund’s Delinquency Policy, participants

in the Health Benefit Plan will lose benefit eligibility if their Employer has not satisfied the

delinquent amount by the end of the first month immediately following the month the contributions

are due. The participants in the Health Benefit Fund who work at Hahnemann University Hospital

stand to lose benefit eligibility if the Debtor does not satisfy its delinquency.

                II.     REQUEST FOR RELIEF AND LEGAL AUTHORITY

       The 1199C Benefit Funds request the following relief and such further relief as the Court

deems appropriate under the circumstances and in the best interests of the bankrupt estate:
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       1.      Section 503(b) of the Bankruptcy Code establishes that after notice and a hearing,

administrative expenses shall be allowed. These amounts include the actual, necessary costs and

expenses of preserving the estate as provided in Section 503(b)(1)(A)(i) of the Bankruptcy Code.

       2.      Payment of fringe benefit contributions is properly ordered as an administrative

expense. In re San Rafael Baking Co., 218 B.R. 860 (9th Cir. 1998); In re World Sales, Inc., 183

B.R. 872 (9th Cir. 1995).

       3.      The Debtor has acknowledged to this Court its obligation to pay contributions to

the 1199C Benefit Funds as an administrative expense, but it has failed to submit reports and make

payments to the Benefit Funds.

       4.      After notice and hearing the Benefit Funds respectfully request an Order be issued

directing the Debtor to submit contribution reports and pay all contributions and other amounts

owed to the Benefit Funds under the terms of the collective bargaining agreements since the filing

of the bankruptcy petition.

                                    III.     CONCLUSION

       For the forgoing reasons, the Benefit Fund Creditors respectfully request that the Court

schedule a hearing and thereafter order the Debtor to report and pay fringe benefit contributions

as proper administrative expenses pursuant to Section 503 of the Bankruptcy Code, and enter an

Order providing for such other relief as is just and proper under the circumstances. A draft

proposed Order has been submitted in further support of this Motion.
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Dated: August 16, 2019                    _/s/ Lance Geren____________________
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